106 F.3d 391
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jimmie NELSON, Plaintiff--Appellant,v.W.L. EAGLETON, Associate Warden, in his personal andofficial capacity, Defendant--Appellee.
    No. 96-7420.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1997.Decided Jan. 24, 1997.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  David C. Norton, District Judge.  (CA-95-2073-2-18AJ)
      Jimmie Nelson, Appellant Pro Se.
      Sandra J. Senn, STUCKEY &amp; SENN, Charleston, South Carolina, for Appellee.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Nelson v. Eagleton, No. CA-95-2073-2-18AJ (D.S.C. Aug. 2, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    